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Diamond Select Toys & Collectibles, LLC                  Case No. 25-10312
Statement of Operations                                 01/14/25 - 01/31/25

                                                  Diamond Select Toys &
                                                     Collectibles, LLC

Revenue
 Sales - Wholesale                                $               442,314
 Sales - Webstore                                                  14,332
Total Sales                                                       456,645

Cost Of Sales
 Manufacturing                                                    225,469
 Fulfilment                                                         2,712
Total Cost Of Sales                                               228,180

Gross Profit                                                      228,465

Selling, General, and Administrative
 Bank Fees                                                            341
 Other Admit Cost                                                  25,844
 Salaries & Payroll Taxes                                          49,816
Total G&A Costs                                                    76,000

Net Income (Loss)                                                 152,465
